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13                       UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15
       Linda Harding                         Case No.: 8:24-cv-00040
16
          Plaintiff,                         COMPLAINT for Injunctive
17                                           Relief and Damages for
18
        v.                                   Violations of:

19     Aperto Property Management,           1. The Fair Housing Amendments
       Inc.; Park Stanton Place, a              Act of 1988, 42 U.S.C. § 3601
20     California Limited Partnership;          et seq.;
       Foundation for Affordable             2. California Fair Employment
21     Housing II, Inc.; and Does 1-10          and Housing Act, Cal. Gov’t
22     inclusive                                Code § 12955 et seq.;
                                             3. California Unruh Civil Rights
23        Defendants                            Act, Cal. Civ. Code § 51 et
                                                seq.;
24                                           4. California Disabled Persons
25                                              Act, Cal. Civ. Code § 54.1 et
                                                seq.; and
26                                           5. Negligence, Cal. Civil Code
                                                §1714.
27
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 1                                 INTRODUCTION
 2         1.     This is an action for injunctive relief and damages against
 3   Aperto Property Management, Inc., Park Stanton Place, a California Limited
 4   Partnership, and Foundation for Affordable Housing II, Inc. (collectively
 5   “Defendants”), for housing discrimination based on disability.
 6         2.     Plaintiff Linda Harding (“Plaintiff”) lives with compound
 7   disabilities and was without housing for approximately seventeen years
 8   before she secured a Section 8 federally-subsidized housing voucher
 9   (“Voucher”). With the Voucher she applied for a unit owned and operated
10   by Defendants. After she was approved for an apartment, but before signing
11   the lease, she contracted COVID-19.
12         3.     Plaintiff’s disabilities were exacerbated when she contracted
13   COVID-19 and put her at increased risk of harm due to the virus. Plaintiff
14   had to be hospitalized and quarantined for treatment to avoid a poor
15   outcome.
16         4.     Defendants typically require lease signing to be done in person.
17   Because of her disabilities, exacerbated by COVID-19, Plaintiff was unable
18   to sign her lease in person. Plaintiff made multiple reasonable
19   accommodation requests to sign her lease in alternative ways. These requests
20   were denied. Additionally, Plaintiff’s attempts to engage in an interactive
21   process with Defendants to figure out a way to execute the lease agreement
22   in an alternative manner were rebuffed. Rather than accommodate Plaintiff,
23   Defendants rented the unit she was approved for to someone else, leaving
24   her without housing and causing her to experience difficulty, discomfort,
25   and out-of-pocket losses.
26         5.     Defendants’ refusal to modify their policy that tenants sign their
27   lease in person, allow Plaintiff to sign her lease in alternative ways, delay the
28   lease signing until the exacerbation of Plaintiff’s disabilities was treated, or


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 1   engage in an interactive process with Plaintiff was in willful disregard of her
 2   rights under federal and state fair housing law. Defendants knew or should
 3   have known the significant harms their acts and omissions would cause
 4   Plaintiff, but discriminated against her anyway.
 5          6.    Plaintiff brings this action seeking injunctive relief, statutory
 6   penalties, actual and punitive damages, reasonable attorney’s fees, and costs
 7   of suit.
 8                            JURISDICTION & VENUE
 9          7.    Pursuant to 28 U.S.C. § 1331 jurisdiction is proper for claims
10   that arise under the laws of the United States, including the Fair Housing
11   Act, 42 U.S.C. §§ 3601-3619.
12          8.    This Court has supplemental jurisdiction pursuant to 28 U.S.C.
13   § 1367 to hear and determine Plaintiff’s state law claims because they are
14   related to Plaintiff’s federal claims and arise from a common nucleus of
15   operative facts. Plaintiff’s state and federal claims form part of the same case
16   or controversy under Article III of the United States Constitution.
17          9.    Venue is proper in the Central District of California under 28
18   U.S.C. § 1391(b)(2) because the events or omissions giving rise to Plaintiff’s
19   claims occurred in this district, the property that is the subject of the action is
20   situated in this district, and the Defendants conduct business in this district.
21
22                                      PARTIES
23          10.   Plaintiff is, and at all times relevant herein was, a resident of the
24   State of California.
25          11.   Defendant Aperto Property Management, Inc. is a California
26   corporation with a primary business address at 2 Venture Suite 525, in the
27   City of Irvine, California.
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 1          12.     Defendant Park Stanton Place, a California Limited Company is
 2   a California limited partnership with a primary business address of 270 N
 3   Canon, Second Floor, in the City of Beverly Hills, California. Park Stanton
 4   Place is the property owner of the unit Plaintiff was approved to rent.
 5          13.     Defendant Foundation for Affordable Housing II, Inc. is a
 6   California corporation with a primary business address of 69 NW Newport
 7   Avenue, Suite 200, in the City of Bend, Oregon. It is the managing general
 8   partner and owner of Park Stanton Place.
 9          14.     Plaintiff is currently unaware of the true identities of Does 1-10,
10   inclusive, and will seek leave to amend her Complaint when the true names,
11   capacities, connections, and responsibilities of those defendants are
12   ascertained.
13          15.     Plaintiff is informed and believes, and on that basis alleges that
14   each of the Defendants is the agent, ostensible agent, alter ego, master,
15   servant, trustor, trustee, employer, employee, representative, franchiser,
16   franchisee, lessor, lessee, joint venturer, parent, subsidiary, affiliate, related
17   entity, partner, and/or associate, or such similar capacity, of each of the other
18   Defendants, and was at all times acting and performing, or failing to act or
19   perform, within the course and scope of such capacity, and with the
20   authorization, consent, permission or ratification of each of the other
21   Defendants, and is personally responsible for the acts and omissions of the
22   other Defendants in causing the violations and damages complained of
23   herein. Each Defendant participated, directed, and/or approved or ratified
24   each of the acts or omissions of each of the other Defendants, as herein
25   described directly or indirectly.
26   \\
27   \\
28   \\


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 1                                FACTUAL ALLEGATIONS
 2         16.    Plaintiff is a senior citizen as defined by California Civil Code
 3   section 51.3.5(d)(2).
 4         17.    Plaintiff was without stable housing for approximately
 5   seventeen (17) years until on or around April 13, 2022.
 6         18.    Plaintiff has physical and mental disabilities that substantially
 7   limit her mobility, cognition, and intellectual processing and necessitate
 8   regular hospital and care facility stays.
 9         19.    The Park Stanton Place (“Property”) is a multi-family
10   apartment complex located at 7622 Katella Avenue in the City of Stanton,
11   California. Aperto Property Management is the property manager at the
12   Property.
13         20.    The Property has 335 senior units and participates in the Low-
14   Income Housing Tax Credit (“LIHTC”) program. It may accept other
15   government funds through additional programs.
16         21.    Defendant Aperto Property Management, Inc. owns, operates
17   and/or manages the Property. At all times relevant herein, Aperto Property
18   Management acted as an agent of Part Stanton Place.
19         22.    Defendant Park Stanton Place, a California Limited Partnership,
20   owns, operates and/or manages the Property.
21         23.    Defendant Foundation for Affordable Housing II, Inc. owns,
22   operates and/or manages the Property.
23         24.    Plaintiff received her Voucher on or around October 2021.
24   Plaintiff believes and was informed that her case worker obtained at least
25   one extension, before April 6, 2022.
26         25.    Orange County Housing Authority opened its waitlist in 2012 to
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 1   50,000 people and next opened its waitlist in 2023 to 12,000 people.1 An
 2   unhoused person in Orange County can apply for housing opportunities
 3   through the County run Coordinated Entry System (hereafter “CES”). CES
 4   policies dictate how a person is added to the system, how a person stays
 5   active in the system, and when a person is matched with housing
 6   opportunities including a Voucher.2 Plaintiff lacked stable housing for
 7   approximately seventeen years. She faced challenges entering the CES
 8   system and navigating the CES system.
 9            26.   Once an individual receives a Voucher, they are often unable to
10   secure a lease before the Voucher expires. 3 Plaintiff’s apartment search was
11   even more difficult because of her disability-related needs, including the
12   need to be near her medical providers and her need for onsite parking. Upon
13   receipt of a Voucher, Plaintiff and her case manager began working
14   diligently to find and apply for units that could meet her disability-related
15   needs.
16            27.   A one-bedroom unit was identified at the Property. It met
17   Plaintiff’s disability-related needs and was listed at $1700 per month, a rent
18   amount that her case manager expected could be approved by the Housing
19   Authority for her Voucher.
20            28.   The primary contact responsible for leasing the Property was
21   Yvette Wright, on information and belief the Property Assistant Manager
22   (hereafter “Property Manager”). Ms. Wright was and is, on information and
23
24
25
     1
       https://voiceofoc.org/2023/09/orange-countys-housing-voucher-
     application-ends-tomorrow/
26   2
       https://ceo.ocgov.com/sites/ceo/files/2022-
27   09/CES%20POLICY%20FINAL_220928_APPROVED.pdf
28
     3
       “OC Housing Agencies Face Unprecedented Number of Housing Vouchers
     Before They Expire,” Los Angeles Times April 14, 2022

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 1   belief, an employee and/or agent of Aperto Property Management with
 2   authority to act on behalf of the Property.
 3          29.      Giselle Masedo (hereafter “Case Manager”) was Plaintiff’s
 4   Housing Navigator at Illumination Foundation. Illumination Foundation
 5   serves as an Orange County funded designated access point for CES in
 6   Orange County and provides services to people experiencing homelessness.
 7          30.      Plaintiff through the assistance of the Case Manager, completed
 8   and submitted all paperwork required by Defendants to apply for the unit at
 9   the Property on or around January 26, 2022, and was approved on or around
10   January 27, 2022.
11          31.      On or around January 27, 2022, Plaintiff was tested positive for
12   COVID-19. Because of her compound disabilities, and the way COVID
13   might exacerbate those disabilities, she was immediately hospitalized to
14   ensure prompt medical support would be available to manage her compound
15   disabilities.
16          32.      On February 1, 2022, Property Manager emailed the Case
17   Manager that the inspection for the apartment was complete4 and requested a
18   move-in date. The Case Manager informed the Property Manager that
19   Plaintiff was in the hospital and requested a virtual leasing option as a
20   disability accommodation. The Property Manager ignored the
21   accommodation request and responded asking if Ms. Wright could move in
22   on February 3, 2023.
23          33.      Plaintiff’s disability-related complications resulted in
24   hospitalization and subsequent nursing home care. Because of Plaintiff’s
25   disabilities, she suffered major complications after she contracted COVID-
26   19. When she was released from the hospital her disabilities required that
27
28
     4
      A Voucher holder is required to have the unit inspected by the housing
     authority before federal funds can be used for the rental subsidy.

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 1   she be transferred to a nursing facility for an extended stay and further
 2   assistance with her daily activities during recovery. Upon arrival at the
 3   nursing facility, Plaintiff was subject to a mandatory 14-day quarantine.
 4   During her recovery, she had significantly increased difficulty engaging in
 5   basic life activities, such as walking, talking, reading, and processing
 6   information.
 7         34.      On February 7, 2022, Plaintiff, through her Case Manager,
 8   emailed the Property Manager again requesting the reasonable
 9   accommodations of a virtual lease signing and informing the Property
10   Manager that Plaintiff was temporarily in a nursing facility with a 14-day
11   quarantine for disability-related care. Therefore, Plaintiff was still not
12   physically able to appear in person to execute the lease.
13         35.      On February 7, 2022, the Property Manager responded that she
14   spoke with Regional Manager of Aperto Property Management, Inc., Martha
15   Reyes (“Regional Manager”), and represented that the Regional Manager
16   would not allow Plaintiff to sign her lease virtually or hold the unit for
17   Plaintiff to sign in person when the limitations imposed by her disabilities
18   were better managed so she could leave the facility.
19         36.      After the request for reasonable accommodation was summarily
20   denied by Defendants, Plaintiff again tried to begin the interactive process
21   offering a variety of options that would permit her to lease the unit despite
22   her disability-related limitations including:
23                i. Electronic signature
24               ii. Physical signature done over video from the facility to ensure
25                   Defendants could talk to and see Plaintiff while she signed.
26               iii. Reschedule lease signing and move in date until Plaintiff
27                   completed her medically required quarantine at the nursing
28                   facility.


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 1               iv. Payment of a per diem holding fee to compensate Defendants
 2                  for lost revenue until Plaintiff was medically cleared to attend
 3                  an in-person lease signing despite her disability related
 4                  limitations.
 5               v. Other accommodations as Defendants might see fit to ensure
 6                  Plaintiff would not incur the physical and emotional harm of
 7                  losing this unit.
 8         37.     On February 8, 2022, Defendants again summarily denied the
 9   request for reasonable accommodations and declined all proposed
10   alternatives to allow Plaintiff access to the unit a person without her
11   disabilities would have had. Defendants failed to explain why the
12   accommodations could not be provided, failed to suggest any alternatives,
13   and refused to engage in any interactive process to try and explore with
14   Plaintiff an accommodation that might work to maintain the housing for
15   which she had been accepted and approved.
16         38.     The Elder Law and Disability Rights Center (“ELDR”), on
17   behalf of Plaintiff, submitted a demand letter on or around February 8, 2022,
18   to Defendants with the request for reasonable accommodations. ELDR
19   repeated the options for reasonable accommodations made previously by
20   Plaintiff in an attempt to meet any needs of the Defendants. ELDR also
21   reiterated the request to engage in an interactive process. Defendants did not
22   respond.
23         39.     On February 9, 2022, ELDR spoke with Defendants through the
24   Property Manager and Regional Manager to follow up on Plaintiff’s
25   unanswered request for reasonable accommodations. Defendants informed
26   ELDR that the unit Plaintiff was approved for was placed back on the
27   market and no longer unavailable.
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  1          40.     Defendants stated that because the Property was “tax-credited,”
  2    there were limits on how long management could hold a unit for a tenant.
  3    Defendants declined provide any code, regulation, or other authority to
  4    support the alleged prohibition on holding the unit. Defendants did not
  5    provide any lawful basis to circumvent federal and state requirements to
  6    provide reasonable accommodations in the rental of housing.
  7          41.     Defendants alleged they had already “violated” internal policy
  8    by holding the unit two weeks for Plaintiff from the date of approval and
  9    stated that they could not do that again. Defendants stated that they could not
 10    accept a per diem payment to hold the unit because it would appear as a
 11    form of favoritism and that any form of remote signing would violate
 12    Defendants corporate policy. Defendants again summarily denied the request
 13    for reasonable accommodations without statutory justification for these
 14    denials and declined to engage in the interactive process.
 15          42.     Defendants stated that their attorney would contact ELDR but
 16    declined to provide contact information for this attorney. No attorney
 17    representing Defendants contacted ELDR to follow up on these denials.
 18          43.     Plaintiff and her case manager again worked diligently
 19    attempting to secure a unit that could meet her disability related needs with
 20    the Voucher expiration date impending. Despite finding a unit, she feared
 21    she would lose it again up until she got the keys to her new residence
 22    because of the actions of Defendants.
 23          44.     Upon release from the nursing facility Plaintiff was forced to
 24    find places to stay safely until April 13, 2022, when she began her current
 25    rental unit at Metro Park.
 26          45.     She suffered severe emotional distress, including depression
 27    and anxiety. This stress exacerbated Plaintiff’s digestive pre-existing
 28    conditions.


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  1          46.    Metro Park is not as suitable for Plaintiff’s disabilities as the
  2    Property would have been.
  3          47.    Plaintiff’s lease at Metro Park is $1725/month, $25 more than
  4    the $1700 per month she would have paid at the Property. In addition, she
  5    must pay the cost of electricity at approximately $60-$80 per month whereas
  6    electricity was included in the rental rate at the Property. These additional
  7    costs are a considerable hardship given her limited income.
  8          48.    The closest grocery store to Plaintiff is Stater Bros, which is
  9    more expensive than Food4Less, the closest grocery store to Property.
 10    Plaintiff estimates that she spends an additional $30 a month on groceries at
 11    Stater Bros, another considerable hardship for her.
 12          49.    Plaintiff was finally reimbursed for the money orders to hold
 13    the unit at Property in early July 2022, approximately five months after
 14    Defendants refused to accommodate her so she could sign the lease at the
 15    Property. This undue delay caused Plaintiff considerable financial stress
 16    given her limited income. She did not have enough money to meet her basic
 17    needs for food, gas, and other necessities.
 18          50.    On information and belief, the Property had a parking space
 19    that would have been immediately available to Plaintiff upon move-in. By
 20    contrast, Plaintiff had to wait until December 2022 to receive a parking spot
 21    at Metro Park because of a lack of parking availability for residents.
 22          51.    Because a parking space was unavailable to her at Metro Park,
 23    Plaintiff was forced to use an off-site parking every time she used her
 24    vehicle. Due to her disabilities, Plaintiff has limited mobility. As a result of
 25    her mobility impairments and other disabling conditions, she has trouble
 26    walking extended distances because of her disabilities.
 27          52.    The extended distance Plaintiff was forced to walk from off-site
 28    parking spaces to her apartment exacerbated her disabilities, causing her


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  1    pain. When Plaintiff attempted to park her car closer to her unit for her
  2    safety, her car was towed, causing her to experience significant distress and
  3    to incur costs. The increased cost and distress eventually forced her to give
  4    up her car entirely.
  5           53.    Plaintiff now must rely on public transportation but due to her
  6    disabilities, limited stops, and limited schedules, it has not reliably allowed
  7    her to get to her appointments the way her car did. She finds it difficult to
  8    navigate public transportation with her walker. In addition, many of her
  9    destinations require multiple bus transfers, thus considerably increasing
 10    travel time and exacerbating disability-related pain. As a result, she is not
 11    able to get to her appointments as well as she would have been had she been
 12    housed in the Defendants unit.
 13           54.    Metro Park is also further from Plaintiff’s support network than
 14    the Property. Plaintiff’s distant location has cut her off from her social
 15    network so that she cannot visit her friends, and her friends visit her less
 16    often. This loss has increased Plaintiff’s depression, for which she is now
 17    receiving counseling. She also has less access to friends who can provide her
 18    with assistance for disability related needs.
 19           55.    The Metro Park apartment is farther from Plaintiff’s doctor.
 20    With the limited access to her car initially, the increase costs of maintaining
 21    her car later, and her dependence on public transportation currently, she has
 22    missed some appointments. While the difference in cost or time may be
 23    minimal to others, with her disabilities, these are significate to her and at
 24    times, she was not up to making the longer trip.
 25           56.    Plaintiff also has safety concerns about the Metro Park
 26    Apartment. At the Metro Park Apartment, Plaintiff hears screaming at night
 27    and has seen somebody climb over the fence to enter the property at night.
 28    Plaintiff is afraid to leave the unit at night as a result.


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  1          57.    The Property was Plaintiff’s housing of choice. It was
  2    conveniently located, accessible to her, within her budget, and provided
  3    access to amenities and services important and necessary to her. As a direct
  4    cause of Defendant’s discriminatory acts and omissions, Plaintiff was forced
  5    to enter into a lease at a less desirable property, at higher cost, with less
  6    access to the amenities and services important to her. The alternative was to
  7    remain unhoused.
  8          58.    Allowing Plaintiff to sign her lease electronically or virtually
  9    would not have created an undue burden for Defendants. Delaying Plaintiff’s
 10    lease signing until she completed her 14-day COVID-19 quarantine at the
 11    nursing facility would not have created an undue burden for Defendants.
 12          59.    Acceptance of a per diem holding fee until Plaintiff was able to
 13    sign her lease in person would not have created an undue burden for
 14    Defendants. Allowing Plaintiff to sign her lease electronically or virtually
 15    would not have resulted in a fundamental alteration of the nature of
 16    Defendants’ housing program. Nor would a slight delay or acceptance of a
 17    per diem holding fee until she was able to sign in person.
 18          60.    There is no statutory or regulatory requirement applicable to the
 19    Property that would have prohibited Defendants from accommodating
 20    Plaintiff as requested.
 21          61.    At no time relevant herein did Defendants engage in, or offer to
 22    engage in, an “interactive process” with Plaintiff or her representatives to
 23    exchange information to identify, evaluate, and implement a reasonable
 24    accommodation that would allow her equal opportunity to use and enjoy the
 25    housing opportunity at the Property.
 26          62.    At no time relevant herein did Defendants engage in, or offer to
 27    engage in, an “interactive process” with Plaintiff or her representative to
 28



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  1    explore and determine if alternatives to the reasonable accommodations she
  2    had requested were feasible.
  3          63.       As a person/entity that is in the business of renting housing,
  4    Defendants knew or should have known of their obligation to reasonably
  5    accommodate Plaintiff and obligation to engage in an “interactive process”
  6    with Plaintiff. Further, they were informed of their obligations by the Case
  7    Manager on February 7, 2022, and by Plaintiff’s attorney on February 8,
  8    2022, and on a February 9, 2022 telephone call. Regardless of this
  9    knowledge, Defendants failed to accommodate Plaintiff or otherwise comply
 10    with the law.
 11          64.       As the direct and proximate result of Defendants’ acts and
 12    omissions as alleged herein, Plaintiff has suffered and will continue to suffer
 13    damages, including deprivation of the right to equal housing opportunity,
 14    increased expenses, loss of civil rights, frustration, difficulty, severe
 15    emotional distress, embarrassment, and inconvenience as well as physical
 16    injury.
 17          65.       Defendants’ refusal to provide Plaintiff with an accommodation
 18    for signing the lease caused Plaintiff considerable distress. From the moment
 19    Plaintiff was notified that she might lose the unit because of her
 20    hospitalization, she was distraught. Plaintiff was very depressed, frequently
 21    cried, and experienced worse acid reflux because of the stress of potentially
 22    losing the apartment. Plaintiff had been unhoused and endured much of the
 23    trauma associated with being unhoused, for seventeen years before receiving
 24    a Voucher and approval for the unit at the Property. When she learned she
 25    had been accepted at the Property after this long period, she believed that
 26    she would finally be safe from the dangers of remaining unhoused.
 27    Defendants inflicted severe emotional distress on Plaintiff when they refused
 28    her requests for reasonable accommodations, and abruptly rescinded their


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  1    offer of housing by relisting the unit for which she had been approved.
  2    Defendants’ actions forced her to remain unhoused immediately while
  3    receiving disability-related treatment, during recovery from COVID-19, and
  4    while the exacerbations of her disabilities became managed.
  5          66.    Defendant was aware by participating in a voucher program and
  6    signing the paperwork required by the Anaheim Housing Authority to
  7    participate in the program that Plaintiff’s housing voucher was time-limited
  8    and that losing the unit at the Property might mean losing that assistance
  9    entirely. They violated her rights anyway.
 10          67.    Plaintiff spent the next two months without stable housing, not
 11    knowing how soon another unit would become available, whether she would
 12    qualify, and saddled with the burden that she would have to endure the
 13    uncertainty of the application process again. Plaintiff also suffered from
 14    emotional distress having to navigate a process that was confusing to her
 15    immediately after a lengthy hospitalization. Defendants’ arbitrary
 16    withdrawal of its apartment offer resulted in severe emotional distress giving
 17    Plaintiff the hope of stable and safe housing that met her disability-related
 18    needs, and then ripping the hope from her while she was in a medical
 19    recovery.
 20          68.    Plaintiff has been, and will continue to, be irreparably harmed
 21    financially by Defendants’ refusal to accommodate Plaintiff as requested
 22    because she now must live in a more expensive apartment when she is very
 23    low-income, incur higher food costs, fund additional travel costs to access
 24    basic necessities, including social and medical visits, and feels less safe in
 25    her home.
 26          69.    On information and belief, it is, and at all times relevant herein
 27    was Defendants’ policy not to hold apartments for qualified prospective
 28    tenants who might need an extension as a reasonable accommodation in the


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  1    rental application and lease signing process or to accept a per diem holding
  2    fee to compensate for such an extension.
  3          70.    On information and belief, it is, and at all times relevant herein
  4    was Defendants’ policy and practice not to allow qualified prospective
  5    tenants to engage in any form of remote signing as a reasonable
  6    accommodation.
  7          71.    On information and belief, it is, and at all times relevant herein
  8    was Defendants’ policy not to engage in a meaningful interactive process in
  9    good faith with prospective tenants with disabilities who request reasonable
 10    accommodations related to their housing by returning correspondence
 11    promptly or allow Plaintiff’s counsel to correspond with Defendants’
 12    counsel.
 13          72.    The nature of Defendants’ discrimination constitutes an
 14    ongoing violation of fair housing law. Until Defendants’ unlawful practices
 15    are enjoined, Plaintiff and other similarly situated persons will continue to
 16    be denied full and equal use and enjoyment of housing offered by
 17    Defendants to the general public and will suffer ongoing and irreparable
 18    injury.
 19          73.    The unlawful practices of the Defendants as described herein
 20    were and are wanton, willful, malicious, fraudulent, or oppressive and/or
 21    were done in conscious, callous, reckless, or blatant disregard for the
 22    federally protected rights of Plaintiff, entitling her to punitive damages.
 23
 24                                   FIRST CLAIM
 25                      Fair Housing Amendments Act of 1988
 26                               42 U.S.C. § 3601 et seq.
 27          74.    Plaintiff hereby re-pleads, restates, re-alleges, and incorporates
 28    by reference all the allegations contained in the preceding paragraphs.


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  1          75.    The Fair Housing Amendments Act of 1988 (“FHAA”), 42
  2    U.S.C. § 3601 et seq., prohibits discrimination in the sale, rental, and
  3    financing of dwellings, and in other housing-related transactions, based on
  4    several protected characteristics, including disability.
  5          76.    Plaintiff is, and at all times relevant herein was, an individual
  6    with a disability as that term is defined by the FHAA and its implementing
  7    regulations. 42 U.S.C. § 3602(h); 24 C.F.R. § 100.201.
  8          77.    Defendants are, and at all times relevant herein were “persons”
  9    who engage in the “rental” of “dwellings,” as those termed as defined by the
 10    FHAA and its implementing regulations. 42 U.S.C. § 3602(b), (d), and (e);
 11    24 C.F.R. §§ 100.20 and 100.201.
 12          78.    The Property is a “dwelling” as that term is defined by the
 13    FHAA and its implementing regulations. 42 U.S.C. § 3602(b); 24 C.F.R. §§
 14    100.20 and 100.201.
 15          79.    In acting as herein alleged, Defendants have injured Plaintiff by
 16    committing discriminatory housing practices in violation of the FHAA and
 17    its implementing regulations. Defendants’ unlawful conduct under the
 18    FHAA includes, but is not limited to:
 19                  a) Discriminating in the rental, or to otherwise make
 20                     unavailable or deny, a dwelling to Plaintiff because of
 21                     disability, 42 U.S.C. §3604(f)(1);
 22                  b) Discriminating in the terms, conditions or privileges of
 23                     housing, or in the provision of services or facilities in
 24                     connection with such housing, 42 U.S.C. § 3604(f)(2);
 25                  c) Refusing to make reasonable accommodations in rules,
 26                     policies, practices, or services, when such accommodations
 27                     were necessary to afford Plaintiff equal opportunity to use
 28                     and enjoy her housing, 42 U.S.C. § 3604(f)(3)(B); and


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  1                   d) Coercing, intimidating, threatening, or interfering with
  2                      Plaintiff in the exercise or enjoyment of rights granted or
  3                      protected by FHAA, 42 U.S.C. § 3617.
  4           80.    Plaintiff is an “aggrieved” person within the meaning of the
  5    FHAA. 42 U.S.C. § 3602(i)(1). She has been denied a housing opportunity
  6    of her choice due to Defendants’ failure to provide her with reasonable
  7    accommodations for her disabilities and has incurred damages as a result.
  8           81.    Defendants’ duties under the FHAA are mandatory and long
  9    established. Defendants are deemed to have had knowledge of their duties at
 10    all times relevant herein and were provided actual notice of such duties.
 11    Defendants’ failure to comply with their fair housing obligations was
 12    wanton, willful, malicious, fraudulent, or oppressive and/or was done in
 13    conscious, callous, reckless, or blatant disregard for the federally protected
 14    rights of Plaintiff.
 15           82.    Pursuant to 42 U.S.C. § 3613(c)(1) and (2), Plaintiff prays for
 16    judgment as set forth below.
 17
 18                                   SECOND CLAIM
 19                   California Fair Employment and Housing Act
 20                           California Civil Code §12955 et seq.
 21           83.    Plaintiff hereby re-pleads, restates, re-alleges, and incorporates
 22    by reference all the allegations contained in the preceding paragraphs.
 23           84.    The California Fair Employment and Housing Act (FEHA),
 24    Cal. Civ. Code §12955 et seq. prohibits discrimination in the sale, rental, and
 25    financing of dwellings, and in other housing-related transactions, based on
 26    several protected characteristics, including disability.
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  1          85.    Plaintiff is, and at all times relevant herein was, an individual
  2    with a disability as that term is defined by California law. Cal. Gov. Code §
  3    12926.
  4          86.    Defendants are, and at all times relevant herein were, “owners”
  5    of “housing accommodations” within the meaning of the FEHA. Cal. Gov’t
  6    Code §§ 12927(d) and (e). Each of the Defendants is also a “person” as
  7    defined under FEHA. Cal. Gov’t Code § 12927(f).
  8          87.    The Property is a “housing accommodation” within the
  9    meaning of FEHA. Cal. Gov’t Code § 12927(d).
 10          88.    Under the FEHA, it is discriminatory for a housing provider to
 11    refuse to make reasonable accommodations where necessary to afford an
 12    individual with a disability an equal opportunity to obtain, use, or enjoy a
 13    housing opportunity. Cal. Code Regs. Tit. 2, § 12176(a) and (c).
 14          89.    The FEHA was written to conform California law on the
 15    subject of fair housing to the Federal Fair Housing Act. Broodmore San
 16    Clemente Homeowners' Assn. v. Nelson, 25 Cal.App.4th 1, 5–7, 30
 17    Cal.Rptr.2d 316 (1994). Accordingly, an analysis under the FEHA mirrors
 18    an analysis under the FHAA.
 19          90.    Defendants’ violation of Plaintiff’s rights under FHAA, as set
 20    out in Plaintiff’s First Claim, also violates Plaintiff’s rights under FEHA.
 21          91.    The FEHA also expands, in some areas, the fair housing rights
 22    of people with disabilities. Relevant here, the failure to engage in an
 23    interactive process expressly violates the FEHA. Cal. Code Regs. Tit. 2, §
 24    12177. By failing to engage in an interactive process with Plaintiff regarding
 25    her need for reasonable accommodation, Defendants violated the FEHA.
 26          92.    Plaintiff is an “aggrieved” person within the meaning of the
 27    FEHA. Cal. Gov’t Code § 12927(g). She has been denied a housing
 28    opportunity of her choice due to Defendants’ failure to provide her with


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  1    reasonable accommodations for her disabilities and has incurred damages as
  2    a result.
  3              93.   Defendants’ duties under FEHA are mandatory and long
  4    established. Defendants are deemed to have had knowledge of their duties at
  5    all times relevant herein and were provided actual notice of such duties.
  6    Defendants’ failure to comply with their fair housing obligations was
  7    wanton, willful, malicious, fraudulent, or oppressive and/or were done in
  8    conscious, callous, reckless, or blatant disregard for Plaintiff’s fair housing
  9    rights.
 10              94.   Pursuant to Cal. Civ. Code § 12989.2, Plaintiff prays for
 11    judgment as set forth below.
 12
 13                                     THIRD CLAIM
 14                           California Unruh Civil Rights Act
 15                            California Civil Code § 51 et seq.
 16              95.   Plaintiff hereby re-pleads, restates, re-alleges, and incorporates
 17    by reference all the allegations contained in the preceding paragraphs.
 18              96.   The Unruh Civil Rights Act (“Unruh Act”) provides that
 19    individuals with disabilities “are entitled to the full and equal
 20    accommodations, advantages, facilities, privileges, or services in all business
 21    establishments of every kind whatsoever.” Cal. Civ. Code § 51(b).
 22              97.   Plaintiff is a person with a “disability” within the meaning of
 23    the Unruh Act. Cal. Civ. Code § 51(e)(1).
 24              98.   The Unruh Act applies with full force to the business of renting
 25    housing accommodations. Marina Point, Ltd. v. Wolfson, 30 Cal. 3d 721,
 26    731 (1982).
 27
 28



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  1           99.   Defendants are in the business of renting housing
  2    accommodations and therefore must comply with the provisions of the
  3    Unruh Act.
  4           100. The provisions of the Unruh Act protect substantially the same
  5    rights as FHAA and are subject to the same analysis.
  6           101. Defendants’ violation of Plaintiff’s rights under FHAA, as set
  7    out in Plaintiff’s First Claim, also violates Plaintiff’s rights under the Unruh
  8    Act.
  9           102. Defendants’ duties under the Unruh Act are mandatory and long
 10    established. Defendants are deemed to have had knowledge of their duties at
 11    all times relevant herein and were provided actual notice of such duties.
 12    Defendants’ failure to comply with their fair housing obligations was
 13    wanton, willful, malicious, fraudulent, or oppressive and/or were done in
 14    conscious, callous, reckless, or blatant disregard for Plaintiff’s civil rights.
 15           103. Pursuant to Cal. Civ. Code § 52, Plaintiff prays for judgment as
 16    set forth below.
 17                                  FOURTH CLAIM
 18                           California Disabled Persons Act
 19                        California Civil Code § 54.1(b) et seq.
 20                   (Statutory Damages and Attorney’s Fees Only)
 21           104. Plaintiff hereby re-pleads, restates, re-alleges, and incorporates
 22    by reference all the allegations contained in the preceding paragraphs.
 23           105. The Disabled Persons Act (“CDPA”) provides that
 24    “[i]ndividuals with disabilities shall be entitled to full and equal access, as
 25    other members of the general public, to all housing accommodations offered
 26    for rent, lease, or compensation in this state, subject to the conditions and
 27    limitations established by law, or state or federal regulation, and applicable
 28    alike to all persons.” Cal. Civ. Code § 54.1(b)(1).


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  1          106. The CDPA also provides that “[a]ny person renting, leasing, or
  2    otherwise providing real property for compensation shall not refuse to make
  3    reasonable accommodations in rules, policies, practices, or services, when
  4    those accommodations may be necessary to afford individuals with a
  5    disability equal opportunity to use and enjoy the premises.” Cal. Civ. Code §
  6    54.1(b)(3)(B).
  7          107. Plaintiff is a person with a “disability” within the meaning of
  8    the CDPA. Cal. Civ. Code § 54(b)(1).
  9          108. The Property is a “housing accommodation” within the
 10    meaning of the CDPA. Cal. Civ. Code § 54.1(b)(2).
 11          109. Defendants are persons renting, leasing, or otherwise providing
 12    real property for compensation, and are therefore subject to the CDPA,
 13    including the CDPA’s requirement to provide reasonable accommodations in
 14    rules, policies, practices, or services, when those accommodations may be
 15    necessary to afford individuals with a disability equal opportunity to use and
 16    enjoy the premises. Cal. Civ. Code § 54.1(b)(3)(B).
 17          110. Defendants violated Plaintiff’s rights under the CDPA by
 18    denying Plaintiff’s request for reasonable accommodation in the lease
 19    signing process and denying her the housing opportunity of her choice.
 20          111. Claims under California Civ. Code § 54.1 are analyzed under
 21    the same standards as the analogous provisions of the FHAA. Accordingly,
 22    Defendants’ violation of Plaintiff’s rights under FHAA, as set out in
 23    Plaintiff’s First Claim, also violates Plaintiff’s rights under the CDPA.
 24          112. Defendants’ duties under the CDPA are mandatory and long
 25    established. Defendants are deemed to have had knowledge of their duties at
 26    all times relevant herein and were provided actual notice of such duties.
 27    Defendants’ failure to comply with their fair housing obligations was
 28    wanton, willful, malicious, fraudulent, or oppressive and/or were done in


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  1    conscious, callous, reckless, or blatant disregard for Plaintiff’s fair housing
  2    rights.
  3              113. Pursuant to the remedies, procedures, and rights set forth in Cal.
  4    Civ. Code § 54.3(a), Plaintiff prays for statutory damages and attorneys’
  5    fees.
  6                                      FIFTH CLAIM
  7                                         Negligence
  8                               California Civil Code § 1714
  9              114. Plaintiff hereby re-pleads, restates, re-alleges, and incorporates
 10    by reference all the allegations contained in the preceding paragraphs.
 11              115. Defendants injured Plaintiff by want of ordinary care or skill in
 12    their ownership and management of their property and agents in violation of
 13    Cal. Civ. Code § 1714.
 14              116. Defendants were negligent because, as described herein, they
 15    violated the FHAA, FEHA, Unruh Act, and Disabled Persons Act in their
 16    ownership and management of the Property.
 17              117. On information and belief, Defendants’ negligence also
 18    includes their failure to train, monitor, and supervise their agents and
 19    employees and to ensure their compliance with the FHAA, FEHA, Unruh
 20    Act, and Disabled Persons Act.
 21              118. Defendants’ acts and omissions constitute a negligent failure to
 22    operate the Property in conformity with the law and with accepted industry
 23    customs and standards.
 24              119. Defendants’ negligence was a substantial factor in bringing
 25    about the harm suffered by Plaintiff, including out-of-pocket losses, the
 26    deprivation of the right to equal housing opportunity, loss of civil rights, loss
 27    of use and enjoyment, frustration, difficulty, emotional and physical distress,
 28    embarrassment, and inconvenience.


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  1          120. The FHAA, FEHA, Unruh Act and Disabled Persons Act were
  2    intended to prevent acts and omission like those of Defendants.
  3          121. The FHAA, FEHA, Unruh Act and Disabled Persons Act were
  4    intended to protect persons like Plaintiff.
  5          122. Wherefore, Plaintiff prays for relief as set forth below.
  6
  7                                       PRAYER
  8    WHEREFORE, Plaintiff respectfully requests that this Court:
  9          1.     Issue an injunction pursuant to the FHAA, FEHA and Unruh
 10                 Act:
 11                  a) Ordering Defendants to refrain from taking any further
 12                     unwarranted and adverse or retaliatory action against
 13                     Plaintiff as the result of this Complaint (e.g. negative
 14                     reports to credit agencies) should they later establish a
 15                     rental relationship with Plaintiff;
 16                  b) Ordering Defendants to adopt and implement objective,
 17                     uniform, nondiscriminatory standards in management of
 18                     properties they own and operate, including the Property;
 19                  c) Ordering Defendants to adopt and implement policies for
 20                     processing reasonable accommodation requests at the
 21                     Property that are consistent with FHAA and FEHA; and
 22                  d) Ordering Defendants to submit their agents and employees
 23                     to fair housing training, including training on the housing
 24                     rights of individuals with disabilities.
 25          2.     Award Plaintiff other general, compensatory, and statutory
 26                 damages in an amount within the jurisdiction of this Court;
 27          3.     Award Plaintiff punitive damages according to proof;
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  1          4.    Award Plaintiff attorneys’ fees, litigation expenses, and costs of
  2                suit, as provided by law; and
  3          5.    Award such other and further relief as the Court may deem just
  4                and proper.
  5
  6    Dated: January 8, 2024
  7                      ELDER LAW AND DISABILITY RIGHTS CENTER
  8
  9
 10                      By:
 11
                                 Andrea Smith
                                 Attorney for Plaintiff
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